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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SOMMER MILLER,                                  :
                                                 :
 Plaintiff,                                      :
                                                 :
 v.                                              :      Civil Action No. 21-619-CMR
                                                 :
 CITY OF PHILADELPHIA, et al.,                   :
                                                 :
 Defendants.
                                                 :

         JOINT STIPULATION TO EXTEND DEADLINES BY SIXTY (60) DAYS
        IT IS HEREBY stipulated and agreed that the date by which discovery must be completed
is extended by sixty (60) days to November 15, 2021, the corresponding expert discovery deadlines
are extended by sixty (60) days to November 15, 2021 for Plaintiff’s expert report(s) and December
15, 2021 for Defendants’ expert reports, and the corresponding dispositive motions deadline is
extended sixty (60) days to January 3, 2021.



  s/ Daniel R. Unterburger                        s/ Robert McNelly
 Daniel R. Unterburger                           Robert McNelly, Esquire
 Assistant City Solicitor                        Attorney for Plaintiff
 Attorney for Defendants City of Philadelphia
 and Rochelle Bilal

 Dated: September 13, 2021                       APPROVED:

                                                     /s/ Cynthia M. Rufe
                                                 _________________________
                                                 J. CYNTHIA M. RUFE
